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15                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN JOSE DIVISION
17
     LIV GOLF INC.,                                      CASE NO. 5:22-cv-04486-BLF
18
                                    Plaintiffs,          PLAINTIFF LIV GOLF, INC.’S NOTICE OF
19                                                       LODGING EXHIBITS
            v.
20
     PGA TOUR, INC.,
21
                                    Defendant and
22                                  Counter-Plaintiff,

23          v.

24   LIV GOLF INC., PUBLIC INVESTMENT
     FUND OF THE KINGDOM OF SAUDI
25   ARABIA, and HIS EXCELLENCY YASIR
     OTHMAN AL-RUMAYYAN
26
                    Counter-Defendants.
27

28

                                       NOTICE OF LODGING OF EXHIBITS
                                         CASE NO. 5:22-CV-04486-BLF
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1    TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

2           PLEASE TAKE NOTICE THAT pursuant to the Order Granting LIV Golf, Inc.’s Renewed

3    Administrative Motion to Seal; Requiring Filing of Certain Documents addressed in ECF No. 501 (Dkt.

4    No. 506), Plaintiff LIV Golf, Inc. hereby lodges the following exhibits addressed in the Court’s Order

5    Granting in Part and Denying in Part The New York Times Co.’s Motion to Unseal (Dkt. No. 501, the

6    “Order). The following chart summarizes the exhibits at issue.

7
      No.        Document                        Court Order                     Resolution
8
      1          Ex. 19 to Declaration of Brook Order Row 9                      Document has        been
9                Dooley in Support of PGA Tour’s                                 unsealed
                 Motion to Compel PIF & HE’s
10               Compliance with Subpoena

11
      2          Ex. 34 to Declaration of Brook Order Row 10                     Document     has    been
12
                 Dooley in Support of PGA Tour’s                                 unsealed
13               Motion to Compel PIF & HE’s
                 Compliance with Subpoena
14
      3          Declaration of Tim Taylor in Order Row 14                       Document     has    been
15               Support of PIF & HE’s Motion to                                 unsealed
16               Quash and Opposition to PGA
                 Tour’s    Motion    to   Compel
17               Compliance with Subpoena

18    4          Ex. 5 to Declaration of Sophie Hood Order Row 20                Document lodged with
                 in Support of PGA Tour’s Reply re                               redacted        emailed
19               Motion to Compel and Opposition to                              addresses and PII
20               Motion to Quash

21    5          Ex. 7 to Declaration of Sophie Hood Order Row 22                Document     has    been
                 in Support of PGA Tour’s Reply re                               unsealed
22               Motion to Compel and Opposition to
                 Motion to Quash
23

24    6          Ex. 12 to Declaration of Sophie Order Row 27                    Document lodged with
                 Hood in Support of PGA Tour’s                                   redacted        emailed
25               Reply re Motion to Compel and                                   addresses and PII
                 Opposition to Motion to Quash
26

27    7          Ex. 14 to Declaration of Sophie Order Row 29                    Document lodged with
                 Hood in Support of PGA Tour’s                                   redacted     emailed
28
     1
                                     NOTICE OF LODGING OF EXHIBITS
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1             Reply re Motion to Compel and                             addresses and PII
              Opposition to Motion to Quash
2

3    8        Ex. 24 to Declaration of Sophie Order Row 39              Document     has    been
              Hood in Support of PGA Tour’s                             unsealed
4             Reply re Motion to Compel and
              Opposition to Motion to Quash
5
     9        Ex. 27 to Declaration of Sophie Order Row 42              Document lodged with
6
              Hood in Support of PGA Tour’s                             redacted        emailed
7             Reply re Motion to Compel and                             addresses and PII
              Opposition to Motion to Quash
8
     10       Ex. 28 to Declaration of Sophie Order Row 43              Document lodged with
9             Hood in Support of PGA Tour’s                             redacted        emailed
10            Reply re Motion to Compel and                             addresses and PII
              Opposition to Motion to Quash
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     DATED: November 15, 2023                 Respectfully submitted,
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                               CASE NO. 5:22-CV-04486-BLF
